         Case
          Case2:17-cr-00001-JAD-DJA
                2:17-cr-00001-KJD-CWHDocument
                                      Document104  Filed02/06/17
                                               88 Filed  02/07/17 Page
                                                                   Page  1 of
                                                                       5 of 51



 1                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 2

 3
                                                   -oOo-
 4                                                   )    Case No.: 2:17-cr-00001
     UNITED STATES OF AMERICA,
                                                     )
 5                                                   )    ORDER FOR ISSUANCE OF
                     Plaintiff,
                                                     )    WRIT OF HABEUS CORPUS
 6                                                   )    AD PROSEDUENDUM FOR
            vs.                                      )    PEDRO IGOR ALVES BARBOSA
 7                                                   )    ID #NCC 16008572
     PEDRO IGOR ALVES BARBOSA,                       )
                                                     )
 8                                                   )
                     Defendant.
                                                     )
 9                                                   )
                                                     )
10
            Upon reading the petition of the United States Attorney for the District of Nevada, and
11
     good cause appearing therefore,
12
            IT IS HEREBY ORDERED that a Writ of Habeas Corpus Ad Prosequendum issue out of
13
     this Court, directing the production of the body of the said PEDRO IGOR ALVES BARBOSA,
14
     #NCC 16008572, before the United States District of Nevada, Las Vegas, Nevada, on or about
15
     March 1, 2017 at 3:00 pm in Courtroom 3B
     ____________________________________, at the hour of 3:00 p.m., for a hearing under Federal
16
     Rule of Criminal Procedure Rule 5, and any further proceedings and from time to time and day
17
     to day thereafter until excused by the said Court.
18
                    DATED: February 7, 2017
19
                                                   _____________________________________
20
                                                   UNITED STATES MAGISTRATE JUDGE
21

22

23

24
